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CONFIDENTIAL
EMPLOYEE AUTHORIZATION

This Confidential Employee Authorization is provided to Walter Scott Lamb, a Senior Vice
President of Liberty University, in conjunction with an investigation being conducted at the request
of Liberty University’s Board of Trustees by Gentry Locke and Baker Tilly, a forensic
investigation firm, who is assisting Gentry Locke. Collectively, Gentry Locke and Baker Tilly
shall be referred to as the Investigation Team.

T. As Acting President, I have the authority to act on behalf of Liberty University and
to clarify and modify provisions of any agreement that you may have entered into with the
University, such as any confidentiality and non-disclosure agreement or employment agreement,
as well as any policies or procedures of the University, including those that require the obtaining
approval and authorization of superiors prior to making disclosures of Confidential Information
(collectively the “Agreement(s)”).

2. While the fact that a forensic investigation is being conducted is publicly known,
the details of the investigation, including without limitation who is being interviewed, what is said,
what documents may be or have been requested, provided or reviewed, as well as all other matters
related to the investigation constitute the Confidential Information of the University as defined by
the Agreements, and as Confidential Information, it is not to be disclosed to others absent my prior
approval.

3, You are expected to cooperate with the investigation by providing full and truthful
information to representatives of the Investigation Team. The University will not retaliate against
you or anyone else who cooperates with the investigation and provides truthful information to the
Investigation Team and its representatives during this investigation. State law expressly protects
those who are whistleblowers. Va. Code § 40.1-27.3.

4, While cooperating during this investigation, you are encouraged to make a full and
complete disclosure of truthful information to the Investigation Team, even if that information
may be considered critical or disparaging of the University or one or more current or former
trustee, officer, employee, agent, independent contractor, consultant or vendor of the University,
and even if such information contains, asserts or suggests that the University or any of these
persons or entities acted or may have acted improperly or unlawfully. As Acting President, I also

agree that the University will not claim that your cooperation with the Investigation Team pursuant
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to this Authorization is a violation of any Agreement(s), and the University will take no adverse
action against you for: (a) providing information that criticizes or disparages the University or any
of these other such persons or entities, or (b) asserting or providing information or documents that
may suggest or show the University or any of the above persons or entities acted or may have
improperly or unlawfully, when such information or documents are provided to representatives of
the Investigation Team as part of this investigation.

5. Additionally, as part of your cooperation under this Authorization, and as Acting
President, ] am expressly authorizing you to make full disclosure of otherwise Confidential
Information (including without limitation documents and electronically stored information or
images) to representatives of the Investigation Team during this investigation, regardless of any
policies, procedures, approvals, and authorizations that might otherwise be required under other
University policies, procedures and practices, or any Agreement.

6. This Authorization does not permit you to disclose your involvement in the
investigation, any of the details of the investigation or any other disclosures prohibited by the
Agreements to any other employee of the University, or to anyone outside the University.

7. All other provisions of your Agreement(s) continue to apply without modification.

Given this Aoday of September 2020.
Liberty University, Inc.

By: Cinna bow
py revo, Acting President

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